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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


     IN RE: JOHNSON & JOHNSON TALCUM MDL No. 16-2738 (FLW-
     POWDER PRODUCTS MARKETING,      LHG)
     SALES PRACTICES, AND PRODUCTS
     LIABILITY LITIGATION


     THIS DOCUMENT RELATES TO ALL
     CASES



    PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM OF LAW IN
    SUPPORT OF ITS MOTION TO EXCLUDE THE EXPERT OPINIONS OF
               DEFENDANTS’ MOLECULAR BIOLOGISTS
                 DRS. NEEL, SHIH, BOYD, AND BIRRER
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            The Plaintiffs’ Steering Committee (“PSC”) respectfully submits this motion,

    pursuant to Fed. R. Evid. 104 (a), 702, 703 and 403, to exclude the testimony of

    Defendants’ molecular biologists, Drs. Neel, Shih, Boyd, and Birrer.1

    I.      INTRODUCTION

            The Johnson & Johnson Defendants (hereinafter, “Defendants”) have

    identified four putative expert witnesses – Drs. Neel, Shih, Boyd, and Birrer – to

    offer various opinions, including that there is no plausible molecular mechanism by

    which the Talcum Powder Products at issue2 in this case can cause ovarian cancer.

            Under Daubert v. Merrell Dow Pharmaceuticals, Inc., 526 U.S. 579 (1993),

    Defendants bear the burden, as the party offering these experts, to demonstrate that

    these experts are qualified to offer the opinions they render on a given subject and

    that they have used a reliable scientific method to reach their opinions. Padillas v.

    Stork-Gamco, Inc., 186 F.3d 412, 418 (3d Cir. 1999). Defendants have failed to meet

    their burden because the opinions of Drs. Neel, Shih, Boyd, and Birrer are

    methodologically unreliable. In addition, they go far beyond their areas of expertise.

    Therefore, the PSC respectfully requests that the Court preclude these witnesses

    from testifying to the expert opinions they seek to offer.


    1
     Benjamin G. Neel, MD, PhD (“Dr. Neel”); Ie-Ming Shih, MD, PhD (“Dr. Shih”);
    Jeffrey A. Boyd, PhD (“Dr. Boyd”); and Michael Birrer, MD, PhD (“Dr. Birrer”).
    2
        I.e., Johnson & Johnson’s Baby Powder and Shower-to Shower products.

                                              1
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          These expert witnesses claim experience in what may broadly be described as

    the molecular biology and/or molecular genetics of cancer,3 and with the exception

    of Dr. Birrer, none have prior experience in assessing the causality of putative

    carcinogens.

          For example, Dr. Neel asserts in his Expert Report that his “major expertise

    is in the area of cancer cell signaling, most notably involving protein-tyrosine

    phosphatases (PTP’s).”4 Dr. Shih’s research focuses on endometriosis and “the

    molecular landscapes in different types of ovarian cancer and identifying novel

    genes and pathways involved in cancer initiation, chromatin remodeling,



    3
      See, e.g., March 19, 2019, Deposition of Dr. Neel (“Neel Dep.”) attached as
    Exhibit A, at 14:4-5 (“cancer biology and cellular molecular biology field”), 27:14-
    20 and 28:23 – 29:1 (work on identifying SHIP-1 and -2 inhibitor proteins); March
    26, 2019, Deposition of Dr. Shih (“Shih Dep.”), attached as Exhibit B, at 67:22-
    68:1 (“My job here is served as an expert in cancer biology and gynecology
    pathology to answer whether talc is – is causal or not”); April 8, 2019, Deposition
    of Dr. Boyd (“Boyd Dep.”), attached as Exhibit C, at 60:2-3 (“cancer geneticist and
    a molecular diagnostician”); and the March 29, 2019, Deposition of Dr. Birrer
    (“Birrer Dep.”), attached as Exhibit D, at 15:8-9 (“the genomics, the molecular basis
    for ovarian cancer.”).
    4
      See February 25, 2019, Expert Report of Dr. Neel (“Neel Report”), attached as
    Exhibit E, at 2 (emphasis added). Dr. Neel is currently a tenured Professor of
    Medicine and the Director of the Laura and Isaac Perlmutter Cancer Center at New
    York University. He received a Ph.D. in Viral Oncology at Rockefeller University
    in 1982 and an M.D. from Cornell University Medical School the following year.
    Since then, he has held positions at a variety of respected medical/research
    institutions, including Beth Israel Hospital, Harvard Medical School, and the
    University of Toronto/Princess Margaret Cancer Center, before transitioning to
    NYU in 2015.

                                             2
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    chromosomal instability, cytokinesis and tumor invasion in ovarian cancer.”5 Dr.

    Boyd’s research similarly “focuses on the genetics and molecular genetics of

    gynecologic and breast cancers.”6 Likewise, Dr. Birrer’s “research efforts have

    focused almost entirely on the molecular genetics of ovarian cancer,” including

    “characterize[ing] the molecular events in the development of ovarian cancer.”7




    5
     See February 25, 2019, Expert Report of Dr. Shih (“Shih Expert Report”), attached
    as Exhibit F, at 2 (emphasis added). Dr. Shih graduated from Taipei Medical
    University in 1988 and received a Ph.D. from the University of Pennsylvania in
    1993. He then transitioned to Johns Hopkins University, where he is currently the
    Richard TeLinde Distinguished Professor of Gynecologic Oncology at the Johns
    Hopkins Medical Institutions.
    6
      February 25, 2019, Expert Report of Dr. Boyd (“Boyd Report”), attached as
    Exhibit G, at 2 (emphasis added). He is Chair and a tenured Professor in the
    Department of Human and Molecular Genetics the Herbert Wertheim College of
    Medicine at Florida International University (“FIU”). He is also a professor of
    Obstetrics and Gynecology and Associate Dean for Basic Research and Graduate
    Programs there. Dr. Boyd received his undergraduate degree at Duke University and
    his Master and Ph.D. degrees at North Carolina State University and worked at
    several respected institutions before transitioning to FIU in 2015.
    7
      February 25, 2019, Expert Report of Dr. Birrer (“Birrer Report”), attached as
    Exhibit H, at 2 (emphasis added). Dr. Birrer is the Director of the University of
    Alabama at Birmingham Comprehensive Cancer Center (“UAB”). He received his
    undergraduate degree from Rensselaer Polytechnic University and his M.D. and
    Ph.D. from the Albert Einstein College of Medicine, where his principal focus was
    microbiology and immunology. Dr. Birrer then worked at several respected
    institutions, including work on the molecular genetics of lung cancer at the National
    Cancer Institute, before transitioning to UAB in 2017.

                                             3
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    II.   SUMMARY OF ARGUMENT

          The common opinion that Drs. Shih, Neel, Boyd, and Birrer each offer is that

    there is no plausible molecular mechanism by which it makes biological sense8 that

    the Johnson & Johnson Talcum Powder Products at issue in this case can cause

    ovarian cancer. Yet, when asked whether known or possible carcinogens are

    constituents of the Talcum Powder Products– incredibly, they each admit that they

    have absolutely no idea.

          In other words, they don’t know what’s in it – but whatever it is – they

    somehow know it’s not biologically plausible that the association seen in the

    observational data between talcum powder and ovarian cancer “makes sense.” It

    does not take more than common-sense to conclude that these experts’ opinions are

    based on sheer speculation and amount to nothing more than ipse dixit. It is wholly

    unreasonable –and unreliable– for a molecular biologist or molecular geneticist to

    offer an opinion on the plausibility (or lack thereof) of the mechanism by which an

    alleged carcinogen may act, when the scientist does not even know the constituents

    of products that are alleged to be carcinogenic. The presence of known or possible



    8
     As discussed in more detail infra, Defendants’ proffered witnesses apply the wrong
    standard. The correct standard for biological plausibility is discussed in detail in
    PSC’s Mem. Support of Mot. To Exclude the Opinions of Defendants Epidemiology
    Experts Drs. Ballman, Merlo, Diette and Borak, filed concurrently herewith, at 66-
    69, esp., e.g., fn. 123-125 & 127. In an effort to conserve scarce judicial resources,
    this discussion is incorporated by reference as if set forth entirely herein.

                                              4
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    carcinogens in Johnson & Johnson’s Talcum Powder Products provides biologic

    evidence supporting the causality of the consistent association detected in the

    observational studies.9

          These witnesses have unanimously conceded they have no opinion on, or

    knowledge of, the components of the Talcum Powder Products at issue in this case.

    This is fatal to their opinions on biological plausibility. Biologic plausibility

    addresses the basic question of “does that association make biological sense?” How

    can a scientist express a reliable opinion about the biological plausibility of whether

    a product causes an endpoint (ovarian cancer) when the scientist does not even know

    the constituents of the product at issue? Moreover, in this case, there is credible

    evidence that the Talcum Powder Products contain multiple known carcinogens,

    including asbestos, fibrous talc, nickel and chromium, each of which can and do



    9
      As the Court is well aware, the PSC alleges that there are multiple known
    carcinogens in Johnson & Johnson’s Talcum Powder Products: asbestos, fibrous talc
    (talc in an asbestiform habit), nickel and chromium. See International Agency for
    Research on Cancer. (2012). Arsenic, Metals, Fibres and Dusts, Vol 100C, A review
    of human carcinogens. In IARC, IARC Monographs on the Evaluation of
    Carcinogenic Risks to Humans. Lyon, France: World Health Organization, attached
    hereto as Exhibit I.

    In addition, there are numerous possible carcinogens in the Talcum Powder
    Products, including platy talc, cobalt, and multiple fragrance chemicals. See IARC
    (2010) Monographs on the Evaluation of Carcinogenic Risks to Humans: Volume
    93 - Carbon Black, Titanium Dioxide, and Talc. Lyon, France: International Agency
    for Research on Cancer, attached hereto as Exhibit J; see also IARC (2012);
    November 16, 2018 Expert Report of Michael M. Crowley, PhD.
                                              5
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 provide biologic evidence consistent with the inference that Talcum Powder

 Products can cause ovation cancer, i.e., a causal explanation for the association seen

 between these products and ovarian cancer “makes sense.”10 So, these experts are

 expressing an opinion without possessing (or ignoring) the necessary information

 that is critical to a proper foundation for their opinions.

       These experts are molecular scientists. As such, they should be expressing

 opinions based on a molecular study of whether specific constituents can cause an

 endpoint. They have not done that. Instead they have attempted to bootstrap their

 opinion to epidemiological studies even though they admit they are not

 epidemiologists.

       The opinions of these four experts have been constructed in a manner to

 attempt to avoid the reality of the causal connection between the use of Talcum

 Powder Products and ovarian cancer. The construct is built around the proverb -

 “Hear No Evil, See No Evil, Speak No Evil.” None of them have knowledge about

 what materials/constituents are in the Talcum Powder Products. As such, by turning

 a blind-eye to the fact that known carcinogens (such as asbestos and/or fibrous talc)



 10
    See the PSC’s other memoranda, filed contemporaneously herewith, addressing
 the constituents of Talcum Powder Products. Further, the PSC understands that
 Defendants plan to move to exclude each of the PSC’s experts including Drs. Longo
 and Rigler. As will be demonstrated in the PSC’s opposition to those motions, it is
 clear that Johnson & Johnson’s Talcum Powder Products contain asbestos and
 fibrous talc which are known human carcinogens.

                                             6
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 exist in Johnson & Johnson’s Talcum Powder Products, they can then leap to the

 litigation conclusion for which they were hired to give – that there is no causal

 connection between the use of Talcum Powder Products and ovarian cancer.

          As made clear above, Johnson & Johnson’s Talcum Powder Products contain

 known and possible carcinogens.11 The only way Defendants' experts could express

 their litigation opinions of a lack of biological plausibility was to ignore the

 constituents in Talcum Powder Products. The record shows that Defendants’ experts

 were not permitted to know, let alone assume, that asbestos and/or fibrous talc exist

 in the Talcum Powder Products, for example, because such a fact, either known or

 assumed, would totally undermine their opinions that Talcum Powder Products

 cannot cause ovarian cancer. Defendants’ experts view is myopic and as such,

 inherently unreliable, because they have been blinded to the fact that carcinogens

 have been constituents of Johnson & Johnson’s Talcum Powder products for

 decades.12

           Defendants’ experts were faced with a paradox - that they reconciled simply

 by ignoring the constituents of Talcum Powder Products. Had they known, or even

 assumed the facts, they would have precluded from offering the opinion that



 11
      See infra at 20, esp. at fns. 29-30.
 12
   See January 16, 2019 Expert Report of William E. Longo, PhD and Mark W.
 Rigler, Ph.D.

                                             7
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 asbestos, for example, in Talcum Powder Products cannot cause ovarian cancer

 (because it is contrary to the generally accepted scientific evidence). But not

 knowing or ignoring the facts also precludes them from offering an opinion that

 Johnson & Johnson’s Talcum Powder Products cannot cause ovarian cancer because

 their lack of knowledge of its constituents renders such an opinion unreliable.

       Moreover, while biological plausibility is one aspect of the causal relationship

 analysis that Sir Austin Bradford Hill discussed in his causation lecture13 the value

 of any assessment of plausibility in the causation analysis is limited by the science

 of the day.14 Indeed, even one of Defendants’ experts in this ligation, Dr. Christian

 Merlo, has conceded that biological plausibility is of limited importance.15

       Thus, the value of the opinions of Defendants’ four molecular biologist

 experts is marginal, considering the lack of importance of biological plausibility to

 the general causation analysis and the inherent lack of reliability of their opinions.



 13
   Sir Austin Bradford Hill, The Environment and Disease: Association or
 Causation, in 58 Proc. Royal Soc. Med. 295-300 (1965) (“Hill article”), attached as
 Exhibit K.
 14
    Id. at 298: “. . . this is a feature I am convinced we cannot demand. What is
 biologically plausible depends upon the biological knowledge of the day.”
 15
    February 25, 2019, Expert report of Christian Merlo, PhD, MPH (“Merlo Report”)
 at 43, attached hereto as Exhibit L. Dr. Merlo lists plausibility as one of the nine
 aspects of a causal relationship, as articulated by Bradford Hill, but does not discuss
 it further, instead noting: “In my discussion below, I focus on three criteria – strength
 of association, consistency of association and biologic gradient – that are the most
 relevant to my opinions and experience as an epidemiologist.”

                                            8
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 Their litigation-driven goal was to elevate the importance of biological plausibility

 above other Bradford Hill criteria, where it is recognized that biological plausibility

 does not have such stature, and even if it did, a proper analysis of biological

 plausibility would require knowledge of the components of the products involved.

       Defendants’ witnesses attempt to overcome the defect of not knowing the

 composition of the Talcum Powder Products by relying on epidemiology to fill the

 void. But they lack expertise in that discipline, which further taints the reliability of

 their opinions.

       While an epidemiologic assessment does not require knowledge of the

 materials comprising the substance in question, the same is not true for expert

 opinions that are ultimately directed at the molecular mechanism by which that

 substance does or does not act. It is wholly unreasonable – and unreliable – for a

 molecular biologist or molecular geneticist to offer an opinion on the plausibility (or

 lack thereof) of the mechanism by which an alleged carcinogen acts, when the expert

 has not even identified the carcinogens or possible carcinogens in question.

 Moreover, to rely on epidemiology, the witness must have expertise in the discipline.

 These experts do not.

       There are certain additional gaps in the methods and reliability of the opinions

 of these witnesses, which are unique to each witness and addressed more fulsomely

 below.


                                            9
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        Finally, as to Dr. Shih, he also seeks to utilize a “Study” that he is in the

 process of conducting to further support his opinions.16 However, this “Study” is in

 the interim stages, and as will be discussed in Section IV.D. of this Memorandum,

 infra., his opinions related to the Study are unreliable and therefore should be

 excluded.

 III.   LEGAL STANDARD

        The PSC incorporates as if set forth in its entirety the legal standard set forth

 in its Omnibus Brief Regarding Daubert Legal Standard and Scientific Principles

 for Assessing General Causation (“Omnibus Brief”) as supplemented herein.

 IV.    ARGUMENT

        A.   THE OPINIONS OF DRS. SHIH, NEEL, BOYD AND BIRRER
             RELATING TO BIOLOGICAL PLAUSIBILITY SHOULD BE
             EXCLUDED BECAUSE THESE EXPERTS EXPRESSED THEIR
             OPINIONS WITHOUT HAVING ANY INFORMATION ABOUT
             THE CONSTITUENTS OF TALCUM POWDER PRODUCTS,
             PARTICULARLY WHETHER THEY CONTAIN KNOWN
             CARCINOGENS

        The first, and primary, reason why the opinions of Drs. Shih, Neel, Boyd and

 Birrer are unreliable is that they offer their opinions about the biological inertness of

 Johnson & Johnson’s Talcum Powder Products, despite having no idea what

 constituents are found in those products.



 16
   Dr. Shih has attached his incomplete Study to his Expert Report in this case an
 apparent effort to bolster his opinions.

                                             10
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          As a preliminary matter, it is important to be clear about what “biologic

 plausibility” means within the Bradford Hill guidelines. It is not “proof of

 mechanism” as these witnesses suppose. Rather, this Hill aspect—which Hill stated

 need not be present for a causal inference to be made—allows for an assessment of

 the biologic evidence to see whether it “makes sense” that the association that is seen

 is indeed causal.17

          For these molecular scientist to express an opinion regarding the nature of the

 Talcum Powder Products, they must first understand the composition of the product

 to determine whether it is biologically plausible. Their area of science is not like

 epidemiology, which is a study of population-level data, but one of composition –

 the chemicals and elements that make-up the agent. Thus, while in epidemiology it

 may not be necessary to know or have an opinion about the molecular composition

 of a putative causative agent to establish a causal association, because all that is

 involved is an analysis of population reports, that indulgence does not apply to the

 opinions of molecular biologists or molecular geneticists.

          In other words, it is entirely appropriate for a scientist to apply talc or Talcum

 Powder Products to tissue cultures without knowing the molecular composition of

 the talc, and then to offer an opinion on biological activity. Similarly, it is entirely

 appropriate for a scientist either to form an opinion or to make an explicit assumption

 17
      See fn. 8, supra. and the PSC’s Omnibus Brief at II (F), page 34.

                                              11
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 about whether Talcum Powder Products contain, for example, asbestos, fibrous talc,

 or heavy metals, and then to offer an opinion on their biological activity. What is

 not appropriate is to be agnostic to the composition of Talcum Powder Products with

 respect to known carcinogens. For these experts to express a causation opinion that

 the Talcum Powder Products are inert and cannot cause cancer, regardless of what

 materials might or might not be in them, is unsupported and unreliable. While these

 experts do not know what the constituent substances are in Talcum Powder Products,

 they express with “reasonable scientific certainty” that whatever those substances

 are, at a molecular level, they cannot cause cancer. This is a wholly unreliable

 opinion that should be excluded.

          Without grounding in either experiment or generally-accepted scientific

 knowledge, these opinions are no more than the ipse dixit of these witnesses and

 should be excluded on those grounds. While Defendants’ experts’ training,

 background, and experience might enable them to assess the strength or weaknesses

 of experimental results, these experts do not possess what Dr. Shih himself said is

 “very important. . . to answer whether talc is – is causal or not.”18

                1.    Dr. Neel’s Opinions About Biological Plausibility are Not
                      Grounded in Sound Science




 18
      Shih Dep., at 67:10–68:1.

                                           12
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          Dr. Neel testified that he is not a geologist and has no opinion on the

 composition of Talcum Powder Products in this case:

          Q.    So you have no knowledge one way or the other whether fibers
                occur in talcum powder, and if so, whether there would be any
                health hazard as a result?

          A.    . . . I am not a mineralogist. I am not a geologist. I have no
                 comment on the composition of talc today or prior to today, like
                 in 2001.19

          Dr. Neel’s ignorance of the constituents of Talcum Powder Products is fatal

 to his opinion20 that the products cannot cause ovarian cancer. As a result, Dr. Neel’s

 opinion is unreliable. As an illustration, if Talcum Powder Products contain asbestos

 and/or fibrous talc, and those materials can cause ovarian cancer, then Talcum

 Powder Products containing those materials can also cause ovarian cancer. In

 essence, Dr. Neel is expressing his opinion in the abstract without regard to whether

 known or possible carcinogens are in the products. Not knowing the constituents of

 the product precludes him from providing a reliable opinion about whether the

 constituents in Talcum Powder Products can cause ovarian cancer.




 19
      Neel Dep., at 308:4-18.
 20
   See, e.g., Neel Report, at 28 (“The plaintiffs’ experts’ causation theories do not
 comport with what we know about carcinogenesis generally or the development of
 ovarian cancer specifically; nor do they have sufficient support from
 epidemiological research.”).

                                            13
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          Dr. Neel is indisputably without an opinion on whether asbestos and/or

 fibrous talc are found in Talcum Powder Products. In addition to the language

 quoted above, Dr. Neel testified that regarding the experiments in Dr. Mossman’s

 paper: “Yes, they claim that it’s non-fibrous talc. But again, I’m not an expert in

 mineralogy or geology. So I can’t comment on the quality of their evaluation. But

 I will say that it’s non-fibrous talc, according to the paper.”21 He also testified:

          Q.     And even if Johnson & Johnson’s Baby Powder and Shower to
                 Shower have – are shown to contain asbestos, that was –
                 reviewing that evidence and that data were not important?

          A.     No, because the issue is whether there is any compelling
                 scientific evidence that Johnson & Johnson’s products, when
                 applied perineally, give rise to an increased incidence of ovarian
                 cancer, and/or whether there was any evidence that Johnson &
                 Johnson products, when applied in experimental animals have
                 any evidence of causing pre- or neoplastic conditions of the
                 ovaries or fallopian tubes. That was the issue that I
                 considered in issuing my report. And therefore, the issue is
                 what’s – what the Johnson & Johnson products do, not whether
                 asbestos is involved in ovarian cancer.22

          There is strong evidence – discussed elsewhere in the PSC’s experts’ reports

 and Memoranda the PSC is filing in these Daubert proceedings23 – revealing that

 Johnson & Johnson products do contain asbestos, fibrous talc, and other known or

 possible carcinogens. Evidence of the presence of these carcinogenic substances


 21
      Neel Dep., at 398:4-17 (emphasis added).
 22
      Neel Dep., at 49:19–50:17.
 23
      See fn. 9, supra.

                                             14
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 provide additional biologic evidence that the association observed between talcum

 powder products and ovarian cancer is causal – but went wholly unevaluated by Dr.

 Neel.

         Rather than doing the comprehensive review of the whole products that is

 required, Dr. Neel did “only a very limited amount of review” – and even that was

 only as to asbestos. As to fibrous talc, a carcinogen which has been shown to be

 present in 99% of the historical samples that have been tested,24 Dr. Neel did not

 recall doing any review:

         Q.    You also reviewed the IARC monograph in 2012, correct?

         A.    Which one is that?

         Q.    That’s the one related to asbestos.

         A.   I looked at that very cursorily. I really didn’t have the time
              to do an exhaustive study of asbestos and ovarian cancer. I
              looked at it cursorily. And several other papers.

                                     *      *        *

         Q.   Did you do any comprehensive review on fibers and particles
              and their role in carcinogenesis?

         A.    No.

         Q.    Did you do any literature review on asbestos?

         A.   Only a very limited amount of review of asbestos in the
              context of ovarian cancer.
 24
   See January 15, 2019, Expert report of William E. Longo, PhD & Mark W, Rigler,
 PhD, at 8.

                                           15
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          Q.    Did you do any review on fibrous talc?

          A.    Not that I recall. Only in the context of it might have been
                mentioned in some of the papers that I reviewed.

          Q.    What is fibrous talc?

          A.    I can’t describe. I’m not a geologist. I’m a cancer biologist. 25

          Having explicitly failed to consider whether Talcum Powder Products contain

 materials that can cause ovarian cancer, Dr. Neel’s opinion is unreliable under

 Daubert and its progeny and should be excluded in its entirety.

                2.    Dr. Shih’s Opinions About Biological Plausibility are Not
                      Grounded in Sound Science

          The same problem that render Dr. Neel’s opinions as unreliable regarding a

 lack of knowledge about the composition of Talcum Powder Products, likewise

 undermine the opinions of Dr. Shih that there is no biological plausibility that

 Talcum Powder Products cause ovarian cancer. Dr. Shih also explicitly failed to

 consider the composition of the Talcum Powder Products and whether they contain

 known carcinogens, such as asbestos and /or fibrous talc. Dr. Shih was particularly

 evasive in “answering” questions about this subject:

          Q.    Do you consider you’re an expert in talcum powder products?

          A.    Could you be more specific for the question?

          Q.    Are you familiar with talcum powder products?
 25
      Neel Dep., at 49:9-18 and 98:9–99:2 (emphasis added).

                                            16
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          A.    What do you mean, “familiar with”?

          Q.    Do you know what is in, for example, bottles of Johnson &
                Johnson talcum powder?

          A.    I think you have several questions in a stream. Could you –
                might go by steps, your question, one by one by one, so I can
                answer your question more effectively.

          Q.    Do you know what the constituent parts of Johnson &
                Johnson’s talcum powder is or are?

          A.    You mean the Johnson & Johnson’s powder in the market?

          Q.    Yes.

          A.    Or in – back to ten years ago, 20 years ago, 30 years ago?
                What do you mean?

          Q.    Today.

          A.    Today, I did not see any Johnson & Johnson’s powder. 26

          Likewise, Dr. Shih refused to answer questions about the chemical structures

 of talc and asbestos, admitting that such knowledge is outside his field of expertise:

          Q.    Doctor, is there a difference in your mind between the chemical
                structure of talc and asbestos or the structural structure?

          A.    Structure of the – I’m not a mineralogist. 27




 26
      Shih Dep., at 54:20 – 56:3 (objections omitted, emphasis added).
 27
      Shih Dep., at 250:7-17 (objection omitted). See, e.g., id. at 54:4-19.

                                             17
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          Dr. Shih also had no opinion about whether asbestos or fibrous talc are present

 in Johnson & Johnson’s Talcum Powder Products:

          Q.    Okay. Doctor, do you have an opinion on whether the talcum
                powder products that we are discussing in this case contain
                asbestos?

          A.    I don’t know.

          Q.    Okay. Do you have an opinion as to whether the talcum powder
                products at issue in this case ever contained asbestos?

          A.    I don’t know.

          Q.    Do you have an opinion on whether the talcum powder products
                at issue in this case contain fibrous talc also known as talc in an
                asbestiform habit?

          A.    This is beyond my expertise and you should ask mineralogist
                and a toxicologist, geologist.

          Q.    Does that – I’m sorry. Does that mean you don’t have an
                opinion?

          A.    I already answered my question.

          Q.   Okay. Do you have an opinion on whether the talcum powder
               products at issue in this case contain – ever contained fibrous
               talc, also known as talc in an asbestiform habit?

          A.    Same answer to that previous question.28

 And Dr. Shih had no opinion about whether those materials can cause cancer:

          Q.    Do you have an opinion on whether asbestos is a known
                carcinogen?

 28
      Shih Dep., at 400:10–401:23 (objections omitted, emphasis added).

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          A.    I did not study asbestos.

          Q.    Do you have an opinion on whether fibrous talc is a known
                carcinogen?

          A.    I did not study it either.29

          As a result, Dr. Shih’s litigation opinion is completely unreliable. If asbestos

 and/or fibrous talc can cause ovarian cancer (and Dr. Shih has no opinion on whether

 they do), and if asbestos and/or fibrous talc are present in Defendants’ Talcum

 Powder Products (and Dr. Shih has no opinion on whether they are), then it stands

 to reason that Defendants’ Talcum Powder Products can cause ovarian cancer. In

 that context, there is simply no reliable basis for Dr. Shih to conclude that

 Defendants’ Talcum Powder Products cannot cause ovarian cancer when he testified

 he had not studied the subject, at all.

          However, having been painted into this corner, Dr. Shih then attempted to

 rehabilitate himself by testifying that he did have an opinion on these issues that he

 had not studied. Having just been asked if asbestos is a known carcinogen and

 testifying in response that he “did not study asbestos” and having been asked about

 fibrous talc and testifying that “I did not study it either,” Dr. Shih went on to testify

 that in his opinion, asbestos and/or fibrous talc are not carcinogenic for ovarian

 cancer, after all:



 29
      Id. at 402:1-10 (objection omitted, emphasis added).

                                               19
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          Q.    Do you have an opinion on whether asbestos can cause ovarian
                cancer?

          A.    There is no credible science and cogent evidence. If you have
                one, please show it to me.

          Q.    Do you have an opinion on whether fibrous talc, also known as
                talc in an asbestiform habit, can cause ovarian cancer?

          A.    You asked me several times.

          Q.     No.

          A.    Same answer.30

          It is the epitome of the “Hear No Evil, See No evil, Speak No Evil” approach:

 Dr. Shih claims no knowledge as to whether asbestos and/or fibrous talc is

 carcinogenic because he “did not study” them, but then (having not studied them)

 asserts that there is no “cogent evidence” that they can cause ovarian cancer. Of

 course, someone who doesn’t study them is not going to be aware of the IARC

 monographs31 classifying both asbestos and fibrous talc as Group I carcinogens for

 which there is a causal connection with ovarian cancer.32

          This is not the reliable, methodical testimony of an expert. It is pure, fact-free

 conclusory advocacy without any methodology to support the testimony. As Judge

 Learned Hand wrote nearly a century ago, “Argument is argument, whether in the


 30
      Shih Dep., at 402:11–403:4 (objections omitted).
 31
      IARC 2012.
 32
      IARC 2010.
                                              20
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 [witness] box or at the bar, and its proper place is the last.” Nichols v. Universal

 Pictures Corp., 45 F.2d 119 (2d Cir. 1930). Accordingly, Dr. Shih should be

 precluded entirely from testifying in this case.

              3.     Dr. Boyd’s Opinions About Biological Plausibility are Not
                     Grounded in Sound Science

       The same flaws regarding composition, which undermine the opinions of Dr.

 Neel and Dr. Shih, likewise undermine those of Dr. Boyd: he too has failed to

 consider whether known carcinogens are constituents of Johnson & Johnson’s

 Talcum Powder Products. As a result, his ipse dixit opinion that those products are

 inert and harmless is unreliable and should be excluded:

       Q.     Have you ever studied the effect of asbestos in the human body?

       A.     No.

       Q.     Do you have an opinion as to whether or not there’s asbestos
              present in any Johnson & Johnson talcum powder product?

       A.     Could you please repeat the question?

       Q.     Do you have an opinion as to whether or not there is asbestos
              present in any Johnson & Johnson talcum powder product?

       A.     No.

       Q.     Do you have an opinion as to whether or not there is any fibrous
              talc present in any Johnson & Johnson talcum powder?

       A.     Again, if we’re referring to Johnson’s baby powder, the answer
              would be no.

       Q.     Do you know if there are any other suspected carcinogens known
              to be within the fragrant chemicals that can be found in Johnson
              & Johnson baby powder – or talcum powder?
                                           21
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          A.    I have no opinion.33

          Yet, having testified that he, in fact, really did not know the constituents of

 Defendants’ Talcum Powder Products, specifically whether they contained asbestos

 or fibrous talc or other suspected carcinogens, when asked if he would change his

 opinion if he knew of the presence of carcinogenic ingredients, Dr. Boyd said such

 information would not change his opinions:

                Q.     If there were asbestos in Johnson & Johnson’s talcum
                       powder, would that change any of your opinions that you
                       had formulated within your expert report?

                A.     My opinions are based on Johnson’s baby powder, the use
                       of Johnson’s baby powder.

                                          *        *   *

                Q.     Okay. Do you agree with Dr. Roberta Ness and Carrie
                       Cottreau when they describe asbestos as an additional risk
                       factor for ovarian cancer?

                A.     Well, if I’m not offering an opinion, I’m not going to offer
                       an opinion on someone else’s opinion. 34

          Dr. Boyd’s admitted failure to “study[] the effect of asbestos on the human

 body” did not prevent him from asserting it has no link to inflammation or ovarian

 cancer, in contravention to peer-reviewed, published articles:

          Q.    Okay. So now they state, “Ovarian cancer has been linked to
                several events and conditions which are related to inflammation
                and repair, including incessant ovulation, endometriosis,
                exposure to talc and asbestos, and in some cases pelvic
 33
      Boyd Dep., at 75:21–76:24 (objections omitted, emphasis added).
 34
      Id. at 78:13-19, 193:5-19 (colloquy omitted, emphasis added).

                                              22
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               inflammatory disease.” Do you disagree that the ovarian cancer
               has been linked to several events and conditions which are
               related to inflammation?

         A.    It depends.

         Q.    Upon?

         A.    What type of inflammation and in what context. What type of
               ovarian cancer…35

 But when asked about what type of ovarian cancer it depended upon, Dr. Boyd could

 not actually say:

         Q.    Can you list for us today as you sit here the different types of
               ovarian cancer?

         A.    Broadly speaking.

         Q.    Specifically speaking?

         A.    Well, that’s an impossible question to answer. Are you talking
               about histologic subtypes, or are you talking about epithelial
               ovarian cancers versus sex cord stromal tumors and germ cell
               tumors? I mean, what –

         Q.    Well, the first – the last ones you described are different forms
               of histologic subtypes, correct? So to make it easy for you, one
               you're –

         A.    You don’t need to make it easy for me. I’m pretty familiar with
               the subtypes of ovarian cancer.

         Q.    Okay. Which form of ovarian cancer has not been linked to
               chronic inflammation?

         A.    That’s frankly a ridiculous question.
 35
      Boyd Dep., at 211:20–212:12 (emphasis added).

                                           23
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          Q.    Is that so? Can I assume that you can’t answer that?

          A.    I did answer.

          Q.    Do you know the answer to it?

          A.    I’m saying it’s impossible to answer a ridiculous question, in my
                mind. 36

          Dr. Boyd failed to “study[] the effect of asbestos on the human body,” failed

 to consider whether the presence of a known carcinogen like asbestos in Johnson &

 Johnson’s Talcum Powder Products could make them carcinogenic, but then

 suddenly did know enough about asbestos to deny that it is linked with ovarian

 cancer and inflammation. Such opinion testimony in the presence of a plethora of

 peer review published articles in scientific journals to the contrary clearly

 demonstrates the lack of reliability of his opinions.37

          This is not the methodical, reliable testimony of an expert witness; it is the

 opinion of a zealous partisan being paid $1,200 an hour for his testimony.38 As a

 result, and as with Drs. Neel and Shih, Dr. Boyd’s failure to consider whether known

 carcinogens may be constituents of Defendant’s Products means that his opinions



 36
      Boyd Dep., at 213:2–214:19 (colloquy and objection omitted, emphasis added).
 37
      IARC Monograph 100c, at 219, 253-257.
 38
   Boyd Dep., at 18:1-3, 16-19 (“Q. And you’re charging $1,200 per hour for
 deposition and other testimony? A. Yes. . . . Q. Okay. When did you start charging
 $1,200 an hour? A. Well, at the beginning of this proceeding.”).

                                            24
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 regarding the carcinogenicity of those products are neither reliable nor the product

 of a sound methodology, and therefore must be excluded in their entirety under

 Daubert and its progeny.

                         4.   Dr. Birrer’s Opinions About Biological Plausibility are
                              Not Grounded in Sound Science

          The same defect that undermine the opinions of Drs. Neel, Shih, and Boyd,

 regarding absence of knowledge of the constituent ingredients of the Talcum Powder

 Products, likewise undermine those of Dr. Birrer: he too has failed to consider

 whether known or possible carcinogens are or are not components of Johnson &

 Johnson’s Talcum Powder Products. Dr. Birrer fails to meet Daubert standards for

 any opinions that he might offer relating to the presence or role of asbestos, fibrous

 talc, or any other components of talcum powder products and their association with

 ovarian cancer. As a result, his opinion regarding whether the Talcum Powder

 Products are inert and harmless is unreliable and should be excluded.

          Dr. Birrer is not an expert in asbestos: “Well, as I said, I’m not a[n] asbestos

 expert”39; “I’m not going to go down the line of being an expert in asbestos.”40

          Similarly, he is not an expert on mechanisms by which asbestos causes cancer:

                 Q.      What’s your understanding of the mechanism by which
                         asbestos causes cancer?


 39
      Boyd Dep., at 71:3-4.
 40
      Id. at 54:15-16.

                                             25
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               A.    Again, I’m not necessarily an expert on this41
          Moreover, Dr. Birrer “wasn’t asked to evaluate the role of asbestos in ovarian

 cancer”42 hence he offers no opinions regarding asbestos, fibrous talc, heavy metals,

 fragrance chemicals, or any other components of Johnson’s talcum powder products

 in his expert report.

          Dr. Birrer’s admitted ignorance about asbestos per se extends to lacking even

 basic knowledge of the significance of particles and fibers, a key element in

 understanding the biological action of minerals like talc and asbestos. (“Q. Do you

 know what fibrous talc is? A. I’m not sure I can really define it.”)43; and (“Q. Is it

 important whether the substance in Johnson’s baby powder and Shower-to-Shower

 is in particulate form or in fiber form? A. I don’t know.”).44

          The absence of a reliable methodology underlying his opinions is readily

 apparent: Dr. Birrer did not perform a comprehensive literature review for asbestos

 and ovarian cancer, fibrous talc and ovarian cancer, heavy metals and ovarian cancer,

 or fragrance chemicals and ovarian cancer.45 He is not aware of an IARC Monograph




 41
      Id. at 299:23-24.
 42
      Birrer Dep., at 57:11-12.
 43
      Id, at 262:3-4
 44
      Id. at 56:2 –57:3.
 45
      Id. at 107:17-24, 108:14-21.

                                            26
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 covering talc containing asbestos or asbestiform fibers,46 nor did he look at the IARC

 Monograph sections on nickel, chromium, or cobalt.47 He was unaware of Dr.

 Michael Crowley’s expert report on fragrance chemicals, and consequently did not

 read the report.48

          Dr. Birrer also lacks expertise and knowledge regarding the composition of

 Johnson’s talcum powder products:

          A.    But in terms of the compositional analysis of talcum powder, that
                is not within the area of my expertise, and the various forms of
                asbestos in talc in terms of minerology is not something I’ve
                spent time on.

                                       *      *      *

          Q.    And what is contained in the Johnson’s baby powder, to your
                understanding?

          A.    Talc. And I know that’s an issue that’s coming up in terms of are
                there other things. I mean, clearly there are other things that – the
                product smell nice, so there must be some fragrance…But I
                don’t know of any – first of all – that’s not my area of
                expertise…49




 46
   Id. at 69:15-19 (“Q. [T]here’s a different IARC monograph published in 2012 that
 would cover talc containing asbestos or talc containing asbestiform fibers, correct?
 A. I don’t think I’ve seen that.”); see IARC Monograph 100c (2012).
 47
      Birrer Dep. at 70:17-19.
 48
      Id. at 87:21-88:12.
 49
      Birrer Dep., at 57:15-19, 84:5-18 (emphasis added to both).

                                             27
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       Dr. Birrer’s opinions on the issue of biological plausibility should be excluded

 since he lacks fundamental information regarding the constituents of the Talcum

 Powder Products or whether those constituents can cause ovarian cancer.

       B.     DRS. SHIH, NEEL AND BOYD ARE NOT QUALIFIED IN
              EPIDEMIOLOGY YET EACH RENDERED OPINIONS
              REGARDING EPIDEMIOLOGICAL STUDIES IN AN
              ATTEMPT TO BOOTSTRAP THEIR UNRELIABLE OPINIONS
              THAT IT IS NOT BIOLOGICALLY PLAUSIBLE THAT
              TALCUM POWDER PRODUCTS CAN CAUSE OVARIAN
              CANCER

       Drs. Shih, Neel and Boyd are not qualified to testify regarding the strengths

 and weaknesses of epidemiological studies. Understanding that the law recognizes

 that “most arguments about an expert’s qualifications relate more to weight to be

 given the expert’s testimony than to its admissibility[,]” Holbrook v. Lykes Bros. S.S.

 Co., 80 F.3d 777, 782 (3d Cir. 1996), the law still requires that an expert witness

 have some specialized expertise on the particular subject at issue in a case in order

 to offer an opinion in that area. Pineda v. Ford Motor Co., 520 F.3d 237, 244 (3d

 Cir. 2008). Molecular scientists are typically not trained or experienced to interpret

 or rely on epidemiological studies to assess whether a substance is carcinogenic.

 Therefore, they should be required to demonstrate they possess unique expertise that

 is outside their scientific discipline, as a condition to being permitted to offer the

 opinions expressed in this case.




                                           28
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       In their expert reports, Drs. Shih, Neel and Boyd venture far outside their area

 of expertise to give opinions about the relative strengths and weaknesses of the

 epidemiological studies relied on by the PSC’s epidemiology experts.50 They have

 also relied, in part, on the results of the epidemiology studies – for their opinions

 about the lack of a molecular mechanism. These witnesses have bootstrapped

 epidemiology – a science beyond their areas of molecular expertise – and have relied

 on their flawed and faulty analysis to discredit the PSC’s evidence of causation.

 Accordingly, their opinions should be excluded in their entirety.

                     1.    Dr. Neel is Not an Epidemiologist, Yet Utilizes
                           Epidemiology to Attempt to Overcome the Fact That
                           His Opinions Are Unreliable Because He Has No
                           Knowledge of the Constituents of Talcum Powder
                           Products

       Dr. Neel is not an epidemiologist and did not perform an appropriate causation

 analysis in this case:

       Q.     Did you perform a Bradford Hill analysis to determine causation
              in this case?

       A.    Well, I’m not an epidemiologist. Bradford Hill criteria are
             epidemiological criteria. I did, you know, read – in the course of
             doing my research, I did read the Bradford Hill paper, and I did
             address several of the issues that Bradford Hill addressed. But,

 50
    The PSC is moving against Defendants’ epidemiologists and will be opposing
 Defendants’ motions attacking its epidemiologists. To the extent more explicit
 information is required by the Court relating to the infirmities in the opinions of
 these non-epidemiologists about epidemiology, the PSC incorporates those papers
 discussing the science of epidemiology.

                                          29
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               you know, as I said, my – my expertise, as I think you know, is
               primarily in the area of cancer biology.51

          Dr. Neel admitted that he has never performed a Bradford Hill analysis in his

 career as a cancer biologist.52 Further, Dr. Neel conceded that, although he “did read

 the Bradford Hill paper,” he is not an expert in epidemiology and the focus of his

 opinions was whether or not there is credible evidence that talcum powder can cause

 ovarian cancer on a cellular and molecular level.53

          His lack of training and expertise in epidemiology – including the fact that

 outside of the courtroom, he does not hold himself out to be an epidemiologist and

 has not, to date, offered a Bradford Hill analysis – did not stop Dr. Neel from relying

 on epidemiological papers in coming to his opinion in this case:

          Q.    So studies that were – would address asbestos and ovarian cancer
                are not relevant?

          A.    Not insofar as I can tell. Because I was looking at the issue of
                Johnson & Johnson products and/or talc as defined by the authors
                of the papers that used these materials, and/or the authors of the
                epidemiological studies that studied this issue on – in offering
                my opinion.

          Q.    And you are talking about the epidemiological studies, correct?

          A.    No. I’m talking about the epidemiological studies which used
                certain things. And then I’m talking about the bio – biological
                studies such as they are, that used various forms of talc, whether

 51
      Neel Dep., at 104:2-15 (emphasis added).
 52
      Neel Dep. at 105:11-14.
 53
      Id. at 104:21–105:9 and 203:1-12 (emphasis added).

                                            30
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                it’s Johnson – in some case it’s Johnson & Johnson products
                directly. In other cases, talc from suppliers like – chemical
                suppliers like Sigma. And each study is different. But the – the
                studies that I cited in my report all used various forms of “talc”
                and that’s what I considered in offering my opinion.

                                   *      *        *

         Q.     Are you aware of an epidemiological study that actually refers to
                what actual product was used by the women included in the
                study?

          A.    My recollection is several said Johnson & Johnson’s products.
                But we’d have to go through all of the 24-case-control
                [epidemiological] studies and three cohort [epidemiological]
                studies that I looked at.54

         Dr. Neel’s general lack of experience evaluating epidemiological studies

 coupled with the fact that he has never performed a Bradford Hill analysis

 undermines Dr. Neel’s qualification to offer an opinion on epidemiology.

         Even worse is the fact that Dr. Neel compounded his error by then applying

 the wrong standard to the general causation aspect of his opinion. In contrast to

 Bradford Hill’s well-accepted epidemiological framework,55 Dr. Neel seeks to create

 a new standard: “But for, you know, a series of epidemiological associations which



 54
      Neel Dep., at 47:4–48:7 and 48:20–49:4 (emphasis added).
 55
   Hill article, at 299 (“What I do not believe . . . is that we can usefully lay down
 some hard-and-fast rules that must be obeyed before we accept cause and effect.
 None of my nine viewpoints can bring indisputable evidence for or against the cause-
 and-effect hypothesis and none can be required as the sine qua non.”); see also the
 PSC’s Omnibus Brief at 17.

                                              31
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 are conflicting and weak, the biological plausibility becomes essential.”56 This

 testimony incorrectly elevates the importance of biological plausibility, contrary to

 Bradford Hill. Dr. Neel also suggested that: “I think that the general standard for a

 cancer biologist to accept causation would require experiments in 2019. And I state

 that as an editor – a member of the editorial board of six journals, including the two

 most prominent cancer biology journals.”57

          However, not one of those journals is in epidemiology, nor is Dr. Neel a

 member of NYU’s epidemiology department.

          Unfortunately, Dr. Neel’s opinion simply reflects the biases of a career as a

 cancer biologist: it is unsurprising that he feels that his area of study is “essential”

 to determining the issue of causation. But that is not the opinion of most

 epidemiologists – including one of Defendants’ proffered experts, Dr. Merlo, who

 notes in his report that “I focus on three criteria – strength of association, consistency

 of association and biologic gradient – that are the most relevant to my opinions and

 experience as an epidemiologist.”58 Conspicuous by its absence from Dr. Merlo’s




 56
      Neel Dep., at 148:21–149:1.
 57
      Neel Dep., at 149:6-13 (emphasis added).
 58
      Merlo Report, at 43.

                                            32
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 list of the “most relevant” aspects of a causal relationship is the biological

 plausibility that Dr. Neel says is essential.59

       Further, it is widely accepted that far from being “essential,” biological

 plausibility – like all aspects of a causal relationship – is simply one aspect among

 many. As one of Defendants’ proffered experts in epidemiology explains about

 aspects of a causal relationship:

       [N]one is required as essential or absolutely necessary. They can
       simply help to provide a framework to guide epidemiologists to decide
       whether or not there is another more likely way of explaining the
       association, including non-causal explanations for the results of
       individual studies.60

       Regardless of whatever qualifications he may have as a cancer biologist, Dr.

 Neel’s opinion wanders far afield from that subject area. Further, he bases his

 opinion on an inaccurate understanding of epidemiology; as a result, he is not

 qualified to offer the opinion set forth in his report. As Dr. Neel admitted he is not

 an epidemiologist and does not do epidemiological work outside of the courtroom.

 As such, he is simply unqualified to offer his opinion in this case.


 59
   Indeed, Dr. Neel’s view appears to be that fellow defense expert Dr. Merlo is not
 a credible scientist because he does not require proof of mechanism to determine
 causation: “If you ask any major scientist in the United States what is the accepted
 standard for establishing causation, they will tell you a mechanism-based
 experiment. I don’t think you can find a credible scientist in the world – or in the
 United States or the world who would say otherwise.” Neel Dep., at 151:20–152:3.
 60
   Merlo Report, at 30 (emphasis added); accord, Hill article, at 299 (see fn. 44,
 supra).

                                            33
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                       2.     Dr. Shih is Not an Epidemiologist, Yet Utilizes
                              Epidemiology to Attempt to Overcome the Fact That
                              His Opinions Are Unreliable Because He Has No
                              Knowledge of the Constituents of Talcum Powder
                              Products

          Epidemiology is likewise a substantial basis for Dr. Shih’s opinions. He

 testified that “my opinion is based on my literature search about epidemiology.”61

 In Dr. Shih’s expert report, he discusses and criticizes various epidemiological

 studies regarding talcum powder in detail, suggesting the “epidemiological studies

 clearly fail to show an association between talcum powder exposure and women who

 develop ovarian cancer, including prospective cohort studies.”62

          Dr. Shih’s report discusses the epidemiologic literature in detail, including the

 Hazard Ratios and Confidence Intervals (HR and CI, respectively) of certain

 studies,63 yet when asked what a confidence interval is, Dr. Shih replied, “I am not

 epidemiology expert” and “you should defer those question to them”:

           Q. Do you know how, when looking at a study that has some degree
              of epidemiology in it, do you know how to interpret a confidence
              interval?



 61
      Shih Dep., at 112:9-11 (emphasis added).
 62
      Shih Expert Report, at 11.
 63
   See, Shih Expert Report, at, e.g., 12 (“there was little association between baseline
 perineal talc use and subsequent ovarian cancer (HR: 0.73, CI: 0.44, 1.2). In this
 report, douching was more common among talc users (odds ratio: 2.1, CI: 2.0, 2.3),
 and douching at baseline was associated with increased subsequent risk of ovarian
 cancer (HR: 1.8, CI: 1.2, 2.8).”)

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           A. Again, I’m a cancer biologist and a gynecology pathologist. I
              review those articles that is relevant and important and – and
              related. I am not epidemiology expert. You can – you should
              defer those question to them. I can – I am here – okay. This is
              very important: My job here is served as an expert in cancer
              biology and gynecology pathology to answer whether talc is – is
              causal or not.64

          Similarly, Dr. Shih could not discuss the Bradford Hill aspects of a causal

 relationship without having the paper in front of him:

          Q.    Did you conduct an analysis in this case utilizing the Bradford
                Hill viewpoints on causation?

          A.    Again, can I have this Brad Hill – Bradford Hill documents
                before we can further discuss?

          Q.    . . . Do you recall reading at any time in your professional career
                a 1965 publication by Sir Bradford Hill regarding viewpoints for
                determining causation?

          A.    Can I see the viewpoints for our discussion?

          Q.    I just want to know if you recall seeing that paper.

          A.    I need to see the paper in order to answer your question.

          Q.    Do you recall at any time reading a published paper dealing with
                causation and viewpoints that consisted of, for example, the
                strength of association, analogy, biological gradient, biological
                plausibility, analogy, experimentation, and coherence? Do you
                recall ever seeing any document like that?

                MS. MILLER: Objection. Compound.

                THE WITNESS: I need to see the documents before we can
                further discuss.



 64
      Shih Dep., at 67:10–68:1.

                                            35
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          Q.    Without seeing any document, you can’t recall ever reading or
                seeing a study or publication dealing with viewpoints of
                causation?

          A.     I saw the viewpoint, but I need to see documents to see which
                ones specifically you refer.65

          While depositions are not a memory test per se, no expert in epidemiology

 needs to have the Bradford Hill paper in front of him or her to know whether he or

 she ever reviewed the paper. Experts who work with Bradford Hill know that without

 needing to refresh a recollection. And, an expert who cannot discuss aspects of a

 causal relationship without having the Bradford Hill paper in front of him66 is not

 qualified to speak to Bradford Hill and epidemiology principles – nor to offer an

 opinion based even in part thereon.

          At times, Dr. Shih was more candid about his lack of expertise in

 epidemiological matters:

          Q.    Okay. Sir, do you consider yourself an expert in epidemiology?

          A.    I am a cancer biologist who focus on – I understand what initiate
                ovarian cancer, and I am also practicing gynecology pathologist.
                And I also run – educator to train residents, pathology residents,




 65
      Shih Dep., at 56:4-58:7.
 66
      See also, Shih Dep. at, e.g., 255:15-19:
          Q.    Now, what Dr. Kane in her report was – are you familiar with
                the Bradford Hill viewpoint of analogy?
          A.    Could you show me the Bradford Hill?

                                             36
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                post-doc fellows, and the graduate students in ovarian cancer
                research and diagnosis.67

                                       *      *     *

          Q.    And by reviewing the published literature dealing with
                epidemiology, does that give you expertise in epidemiology?

                MS. MILLER: Objection.

          A.    As I said, I reviewed other literatures in order to know better
                about the issues, about the – what is the origin of ovarian cancer.
                And it is a background in my study and also in my context.

          Dr. Shih never answered the direct question about epidemiological expertise,

 despite the fact that he testified his opinion is based upon his knowledge and

 understanding of the epidemiological literature: “my opinion is based on my

 literature search about epidemiology.” 68

          Further, this literature was significant enough that even different results from

 the slides that Dr. Shih observed would not have changed his opinion:

          Q.    Okay. And in looking at more slides is it possible that the results
                will change that will change your opinion regarding the
                association of chronic inflammation and the precursor lesions?

          A.    So – so my opinion as in the Exhibit 2 is not totally dependent
                on the results. And these results can support some of the
                important arguments. But again, my opinion will not change,
                even there is a different result in my official publications. My
                opinion is based on my literature search about epidemiology,



 67
      Shih Dep., at 52:11-20 and 53:11-22.
 68
      Shih Dep., at 112:9-11.

                                             37
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                 chronic inflammation, carcinogenesis, molecular genetics,
                 and my 20 years of experience as a scientist and pathologist.69

          This is a classic illustration of an unreliable method that is no more than a

 proffered expert’s ipse dixit. Dr. Shih literally said that his opinion wouldn’t change

 even if the results did. He is wedded to his opinion, regardless of the facts, science,

 and information. Such an opinion is not one that is scientifically reliable but

 conclusion driven.

          That error is magnified by the fact that Dr. Shih’s opinion is based in

 significant part on “my literature search about epidemiology,” despite the fact that

 Dr. Shih also testified that he had no expertise in that field.70 Accordingly, Dr. Shih’s

 entire opinion is unreliable under Daubert and its progeny and should be excluded

 on those grounds.

          But as with Dr. Neel, Dr. Shih is not one to let his lack of expertise stop him

 from offering a new standard for causation, which – like Dr. Neel – alters and

 elevated the biological plausibility aspect of causation (which is one aspect among

 many of Bradford Hill, not one of which is required) into an absolute and singular

 requirement for an established molecular mechanism in order to show causation:

 “any cancer biologist will agree that you need to see the genetic mutation in order to



 69
      Id. at 111:2 –112:14 (emphasis added).
 70
      Id. at 67:17-18.

                                            38
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 establish [a] causal relationship.”71 There is no basis in law or epidemiological

 science for adding this requirement; to the contrary, as discussed above, both

 Bradford Hill and, as set forth above, one of Defendants’ own proffered

 epidemiological experts agree that no one aspect of a causal relationship is

 definitive.

          Not only is biological plausibility not necessary to show a causal relationship,

 but biological plausibility is not even one of the more important aspects.72 For this

 additional reason, Dr. Shih’s opinion should be excluded in its entirety.

                         3.   Dr. Boyd Is Not an Epidemiologist, Yet Utilizes
                              Epidemiology to Attempt to Overcome the Fact That
                              His Opinions Are Unreliable Because He Has No
                              Knowledge of the Constituents of Talcum Powder
                              Products

          The same defects render Dr. Boyd’s opinions as unreliable. Dr. Boyd also

 testified that although he had some understanding of epidemiology at a basic level,

 he is not an expert in that field:




 71
      Id. at 62:17-23.
 72
   See, e.g., Merlo Report, at 43, and passim by its absence; plausibility is mentioned
 only twice in the entire report – without discussion – and not included in the “most
 relevant” aspects; accord, November 16, 2018, report of Jack Siemiatycki, Ph.D.,
 M.Sc. (“Siemiatycki Report”) at 64-66, attached hereto as Exhibit M (discussing
 biological plausibility as one of several “Moderately important aspects” and noting
 the presence of asbestos, asbestiform talc, and heavy metals in Talcum Powder
 Products).

                                             39
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                Q.    Would you consider yourself an expert in the
                      epidemiology of ovarian cancer and its associated risk
                      factors?

                A.    Again, a difficult question to answer. I would not consider
                      myself an expert. I would say that I’m familiar with some
                      of the basic concepts of epidemiologic aspects of ovarian
                      cancer.73

 And it was not a difficult question, as Dr. Boyd’s later testimony on that subject

 reveals:

                 Q.    If you’re not understanding what the epidemiological
                       principles may be, would you defer to an epidemiologist?

                 A.    I might defer to anyone on any given day about any given
                       topic that had to do with a field of inquiry in which I’m
                       not an expert.

                 Q.   Okay. Are you an expert in the epidemiological principle of
                      effect modification?

                  A. No.
                                          *        *   *

                 Q.   Okay.    Has your research ever focused on the
                      epidemiology regarding chronic inflammation and the
                      development of cancer?

                 A.    No. 74

          As with Dr. Neel and Dr. Shih, Dr. Boyd did not let his lack of expertise in

 epidemiology prevent him from imposing a new elevated standard of causation – in


 73
      Boyd Dep., at 52:19–53:3 (emphasis added, objection omitted).
 74
      Id. at 54:4-18; 82:13-17 (objections omitted, emphasis added).

                                              40
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 Dr. Boyd’s view, “causal association” is an oxymoron. Notwithstanding the success

 of epidemiology in finding causation unknown to the biological science of the day,

 from fetid water causing cholera to tobacco smoke causing lung cancer and heart

 disease, in Dr. Boyd’s opinion, epidemiological studies are incapable of showing

 causation:

       Q.     Has the causal association between DES and clear cell adeno-
              carcinoma ever been established in a cohort observational study?

       A.     Well, first of all, you’re using the words “causal” and
              “association” together, which in my mind are different
              concepts. As I believe I suggested before, in my mind,
              epidemiologic studies, whether they be case-control or cohort
              studies, are typically relied upon to suggest associations
              leading to hypotheses that may be further tested regarding
              causation. So juxtaposing “association” and “causation” in the
              [same] sentence is, in my mind, inappropriate.

       Q.     Has the causal relationship between DES and clear cell adeno-
              carcinoma ever been established in a cohort observational study?

              MS. MILLER: Objection. It’s a misleading question.

              THE WITNESS: I would say no because – for the primary
              reason that the – the events were extraordinarily rare, and DES
              was on the market for pregnancy support for a relatively short
              period of time, late ’40s until 1971. It would be impossible to do
              such a study, in my mind, and have it significantly powered;
              hence the reliance on animal models over the years to provide
              much more rigorous evidence of causality with respect to DES
              and carcinogenicity.

       Q.     In fact, the initial association between DES and clear cell
              carcinoma – adenocarcinoma in the offspring of women who
              took it, the drug, were established in case-control studies
              initially, correct?
                                          41
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          A.    I’m of the – I’m aware of the paper that I referenced earlier as
                being the first suggestion that there was an association.75

 But when faced with questions he did not want to answer, Dr. Boyd remembered

 that he is not, in fact, an expert in epidemiology:

          Q.     Would you agree it would be inaccurate for anyone to say that
                 causation cannot be established for the use of case-control
                 studies?

          A.    Several negatives in there. Could you repeat the
                question, please?

          Q.    Would you agree it would be inaccurate for one to say that a
                causal association between a substance or a drug and the
                development of cancer cannot be established through case-
                controlled, observational epidemiology?

          A.    Well, first, I’m not an expert in epidemiology and
                the – I’ll stop there.76

 And yet while being “not an expert in epidemiology” prevented Dr. Boyd from

 answering questions about case-control studies, it did not stop Dr. Boyd from

 opining on the epidemiological data associated with perineal talc use:

          Q.    Doctor, sitting here today in 2019, in addition to age over 45, no
                tubal ligation, no breastfeeding, no live births, oral contraceptive
                use, Jewish ethnicity, family history of ovarian cancer, early
                onset of breast cancer, would you add long-term genital talcum
                powder to the list of risk factors for the development of cancer,
                ovarian cancer?


 75
      Id. at 123:4–125:1.
 76
      Id. at 125:2-21 (emphasis added, objection omitted).

                                             42
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          A.     No.

          Q.     And why is that?

          A.     It’s twofold. At best, the epidemiologic association is quite
                 weak, and no biological plausibility.77

          This is completely improper. A witness cannot avoid those questions he

 dislikes claiming he’s not an expert in the field of the question, but then answer other

 questions and assert expertise in the same field. Even if, at a Daubert hearing, Dr.

 Boyd were to change his mind again, and decide that he is actually an expert in

 epidemiology after all, the PSC’s have been denied the opportunity to examine the

 full extent of Dr. Boyd’s opinion on the issue, and at a minimum would have to be

 allowed to re-take Dr. Boyd’s deposition and re-brief the Daubert issue.

          Further, as illustrated above, Dr. Boyd’s belief that “the epidemiologic

 association is quite weak” is integral to his opinion as a whole. As such, it is not

 severable from the subject matter he claims to be expert in, “many years” of

 “molecular genetic and genetic research.”78 Accordingly, the appropriate remedy is

 instead to exclude Dr. Boyd’s testimony in its entirety.




 77
      Id. at 144:7-20 (emphasis added).
 78
      Id. at 83:5-7.

                                             43
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          C.      DR. BOYD HAS NO QUALIFIED OPINION ON TALC
                  MIGRATION

          Dr. Boyd’s expert report makes several assertions about the issue of talcum

 powder migrating from the perineum to the ovaries. For example, in his report, Dr.

 Boyd asserts that “the evidence that any talc can reach the ovaries from external

 perineal use is weak”79 and that “the same mechanisms of expulsion of talc from

 areas of the female reproductive tract distal to the ovaries (vagina, cervix, uterus,

 fallopian tubes) should also prevent talc from otherwise migrating–like a salmon

 upstream–through this wash of bodily fluids, eventually reaching the ovaries.”80

          However, Dr. Boyd testified at deposition that he is not an expert on the issue

 of migration of talcum powder to the ovaries and does not intend to offer an opinion

 in that area:

          Q.      Dr. Boyd, do you intend to offer an opinion as to whether or not
                  talc powder particles can migrate to the ovaries?

          A.      No.

                                     *     *        *

          Q.      And are you an expert in the migration of external particles from
                  the environment to the vagina to the fallopian tubes and/or
                  ovaries?




 79
      Boyd Report, at 4.
 80
      Id. at 5.

                                               44
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          A.     No.81

          Accordingly, he should be precluded from testifying regarding whether

 talcum powder can migrate to the ovaries.

                D.       DR. SHIH SHOULD NOT BE PERMITTED TO EXPRESS
                         OPINIONS BASED ON HIS INCOMPLETE INTERIM
                         “STUDY REPORT”

          Dr. Shih is in the process of conducting a histopathological study entitled,

 ‘Study Report to Determine Whether Chronic Inflammation Causes Ovarian

 Cancer’82 (“Study”), the hypothesis of which is:

                 if ovarian cancer development is caused by chronic
                 inflammation from various etiologies, one should observe at the
                 human tissue level that the very early lesions of ovarian cancer,
                 i.e., ovarian cancer precursors (before ovarian cancer arises),
                 should be accompanied by chronic inflammation in close
                 geographical proximity to the precursor lesions. 83

          The Study is not complete and has not been submitted for publication or peer

 review.84 Dr. Shih attached a preliminary draft interim report from the Study to his




 81
      Boyd Dep., at 111:4-7 and 253:13-17 (emphasis added).
 82
   See “Study Report to Determine Whether Chronic Inflammation Causes Ovarian
 Cancer,” attached to Exhibit F at page 24?
 83
      Shih Study Report attached to Exhibit F at 24, 1st full paragraph.
 84
   Shih Dep., at 78: 6-8 (Study Report is incomplete, has not been submitted for
 publication and, therefore, has not undergone peer-review as of the time of Dr.
 Shih’s deposition on March 26, 2019).

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 Rule 26 Expert Report.85 Notwithstanding the fact that the Study is not yet finished,

 Dr. Shih relies on it to opine that “…chronic inflammation observed in ovarian

 cancer is most likely a result of cancer, not the cause.”86 It is not surprising that Dr.

 Shih’s Expert Report was not submitted for publication; Expert Reports often are

 not. But what is surprising in that in his Expert Report, Dr. Shih describes his Study

 Report as, “the final answer” on inflammation in cancer initiation and progression.87

          Dr. Shih has put the cart-before-the-horse by relying on a Study that he has

 not yet finished. A hypothesis is an educated guess, it is not an answer and cannot

 provide the foundation for an expert opinion under Daubert. See Colon v. Abbott

 Labs., 397 F.Supp.2d 405, 415 (E.D.N.Y. 2005) (excluding expert’s opinion as

 unreliable because it was based on a hypothesis from an incomplete study). Dr. Shih

 should be precluded from testifying about the Study and his opinions based on it

 because:

          1.    it is neither final nor complete;

          2.    it has no written methodology; and,

          3.    it does not include contemporaneous notes (which, given Dr.
                Shih’s inability to remember at deposition basic facts like
                whether he was the person who wrote the numbers on the

 85
   See Expert Report, at 15 (“My recent study, which is included in full at the end of
 this report, offers significant support….”) – except, as discussed in the main text
 infra, it is both interim and incomplete. Dr. Shih’s entire Expert Report.
 86
      See Shih Expert Report at 15, 1st full paragraph.
 87
      Shih Expert Report, at 28.

                                             46
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                pathology slides he was examining,88 is an unreliable
                methodology that calls into serious question the validity of his
                results).
          Fed. R. Civ. P. (“Rule”) 26(a) (2) (B) (i)-(ii) sets forth the requirements of an

 expert report. Expert reports “must contain: (i) a complete statement of all opinions

 the witness will express and the basis and reasons for them; and (ii) the facts or data

 considered by the witness in forming them.” (emphasis added).

          Dr. Shih testified that Study Report attached to his Rule 26 Expert “is not [a]

 full report”89 and that it will change in its final form, at least in part because a

 discussion of the limitations and methodology of his work was omitted: “it is by no



 88
   Shih Dep., at 177:4-7 (“Q. Is that your labeling system or the way the slides were
 labeled in the tissue – in the slide bank? A. I cannot remember that.”); Shih Dep at
 180: 9-13 (“Q. I still don’t understand who came up with that case ID number, you
 or was it an existing ID number? A. I cannot recall.”) (emphasis added to both).
 An examination of the slide numbers in Table 2 to the Study Report, Ex. F at 29,
 reveals that they are neither consecutive nor do they follow a consistent pattern:
 Study Lesions 1-7 are from Case ID’s S80001-07; Study Lesions 8-16 are from Case
 ID’s 10150-10144 (in decreasing order); Study Lesions 17-25 are from Case ID’s
 10142-33 (also in decreasing order, but omitting some numbers); Case ID’s for
 Study Lesions 26-55 all begin 10-, except for Study Lesions 38-39, 41-42, and 49-
 50; and Study Lesions 56-59 have Case ID’s 20001 NFT - 20001 NFT.
 In short, they bear every indication of being pre-assigned Case ID numbers from an
 existing library of tissue slides.
 Considering the idiosyncrasies of this slide-numbering format, it is astonishing that
 three months after examining them, Dr. Shih cannot remember if he created the Case
 ID numbers or if they were already present when he examined the slides; but given
 his inability to recall that sort of basic detail, it is imperative that he took
 contemporaneous notes of his examination.
 89
      Shih Dep. at 100:19.

                                             47
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 means that this will be the final publication report,” but “when I draft the

 manuscript, definitely like in other publication I did, I will use the term to show the

 limitation, but not necessarily using the term, the word of limitation in the study

 outcome.”90

          Regardless of whether that exact word is used, omitting any discussion of the

 “limitations” of his opinion from the incomplete report is, of course, in violation of

 Rule 26(a)’s requirement that it be a summary of all of the witness’s opinions – not

 just the parts that are helpful to the proffering party.

          Instead, Dr. Shih testified that his Study Report currently lacks key aspects of

 a Rule 26 report, including a description of the “methodologies” employed and the

 aforementioned discussion of the ‘limitations’ of the Study:

          Q.    Is it your testimony today that the – your recent study we’ve
                been discussing is not the full report but is going to be
                modified?
          MS. MILLER:         Objection.
          A.    This is the data I have, but when you wrap up a study, you have
                other ingredients, like introduction, methodologies, result,
                discussion. This is not full report as a publication. I mean a
                full report meaning its publication. Okay. But this is a full result
                I have at this moment.91




 90
      Id. at 98:10-24 and 99:1-2.
 91
   Id. at 100:9-23 (emphasis added).

                                             48
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          Thus, Dr. Shih would have this Court accept his opinions regarding chronic

 inflammation and the development of ovarian cancer based upon a document which

 is nothing more than a current ‘draft’, devoid of specific areas of discussion highly

 relevant to his opinion, e.g., a description of the ‘limitations’ inherent within the

 study and the ‘methodologies’ followed.

          Furthermore, inasmuch as the Study is “ongoing”, Dr. Shih testified that his

 opinions regarding chronic inflammation and the development of ovarian cancer are

 very much subject to change.92 While every expert wants some flexibility to his

 opinion and could theoretically change his opinion if new facts come to light, Dr.

 Shih’s testimony that he has “no plan” as to what data to include in his “ongoing

 project” is simply not countenanced by the Federal Rules of Civil Procedure, which

 require a complete report of the proffered witness’s opinions and their basis. Dr.

 Shih’s interim “Study Report” offers none of that and is accordingly an unreliable

 basis of opinion:

                Q.        A moment ago, you testified that it could change, your
                          opinions could change. You state, again, this is
                          ongoing projects, ongoing results.

                A.        Yes.
                Q.        The – as you sit here today, do you know if the version
                          that you submit for peer review and publication will have
                          co-authors with you?


 92
      Id. at 101:18-24.

                                              49
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                 A.      I have no plan yet what kind of other data will be
                         included. So I cannot answer the question for the future
                         tense.
                 Q.      Is it fair to say then that your study report as provided
                         today is an unfinished product?
                 A.     It is an ongoing project. 93

          As detailed in the PSC’s Omnibus Brief, the second part of the Third Circuit’s

 three-prong test of admissibility of expert testimony requires an expert’s testimony

 to be reliable.94 Dr. Shih’s opinions based upon an ongoing study with incomplete

 methodology (e.g., lacking several key aspects required of a peer-reviewed scientific

 publication including ‘introduction’, ‘methodologies’, ‘result’ ‘limitations’ and

 ‘discussion’) satisfies none of these considerations.

 V.       CONCLUSION

          For this and the other foregoing reasons, the Court should grant the PSC’s

 motion to exclude from this proceeding the opinions and expert reports of Drs. Shih,

 Neel, Boyd, and Birrer, as discussed above, including Dr. Shih’s incomplete interim

 Study Report and his opinions based thereon.




 93
      Id. at 78:9-21.
 94
   Calhoun v. Yamaha Motor Corp., U.S.A., 350 F.3d 316, 321 (3d Cir. 2003)
 (“…the testimony must be reliable…the expert’s opinion must be based on the
 methods and procedures of science rather than on subjective belief or unsupported
 speculation…”) (citations omitted). See also Schneider ex rel. Estate of Schneider v.
 Fried, 320 F.3d 396, 405 (3d Cir. 2003).
                                              50
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